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       3:21-mj-00219


DISTRICT OF OREGON, ss:               AFFIDAVIT OF JOHN MANDRAFINA


             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, John Mandrafina, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I have been a Special Agent (“SA”) with the Federal Bureau of Investigation

(“FBI”) since September 2015. I am currently assigned to the Salem Resident Agency in

Portland, Oregon, Field Office. I have training and experience in federal criminal law and

procedure, interview and interrogation techniques, arrest procedures, search and seizure

procedures, computer crimes, evidence identification and collection, including electronic

evidence. I have personally been involved in matters concerning, illegal narcotics, gun crimes,

crimes committed at federal prisons, health care fraud, bank robberies, and the sexual

exploitation of children.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Sean Case McGinley, a white male with date of birth January xx, 1981, for Interstate Threats

Involving Explosives and False Information and Hoaxes, in violation of 18 U.S.C. §§ 844(e) and

1038(a). As set forth below, there is probable cause to believe, and I do believe, that Sean

McGinley violated 18 U.S.C. §§ 844(e) and 1038(a).

       3.      This affidavit is intended to show only that there is sufficient probable cause for

the requested complaint and arrest warrant and does not set forth all of my knowledge about this

matter. The facts set forth in this affidavit are based on my own personal knowledge, knowledge

obtained from other individuals during my participation in this investigation, including other law

enforcement officers, interviews of witnesses, a review of records related to this investigation,

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communications with others who have knowledge of the events and circumstances described

herein, and information gained through my training and experience.

                                          Applicable Law

       4.      Title 18 U.S.C. § 844(e) makes it a crime for whoever, through the use of the

mail, telephone, telegraph, or other instrument of interstate or foreign commerce, or in or

affecting interstate or foreign commerce, willfully makes any threat, or maliciously conveys false

information knowing the same to be false, concerning an attempt or alleged attempt being made,

or to be made, to kill, injure, or intimidate any individual or unlawfully to damage or destroy any

building, vehicle, or other real or personal property by means of fire or an explosive.

       5.      Title 18 U.S.C. § 1038(a) makes it a crime for someone to engage in any conduct

with intent to convey false or misleading information under circumstances where such

information may reasonably be believed and where such information indicates that an activity

has taken, is taking, or will take place that would constitute a violation of chapter 2, 10, 11B, 39,

40, 44, 111, or 113B of this title, section 236 of the Atomic Energy Act of 1954 (42 U.S.C.

2284), or section 46502, the second sentence of section 46504, section 46505(b)(3) or (c),

section 46506 if homicide or attempted homicide is involved, or section 60123(b) of title 49.

Chapter 113B, of Title 18, section 2332a criminalizes the use, threatened use, or attempted or

conspiracy to use a weapon of mass destruction (a bomb) against any person or property within

the United States where a facility in interstate or foreign commerce is used in the commission of

the offense, the perpetrator travels or causes someone to travel in interstate commerce, or the

property or the results of the offense affects interstate commerce. Chapter 113B, of Title 18,

section 2332f criminalizes the delivery, placement, discharge, and detonation of an explosive in,


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into, or against a place of public use or a state or government facility with the intent to cause

death, serious bodily injury, or intent to cause extensive destruction.

                                  Statement of Probable Cause

       6.      On November 16, 2021, the Newberg-Dundee Police Department, hereinafter

NDPD, sent me case reports and call for service records pertaining to Sean Case McGinley,

hereinafter McGinley. These reports document that McGinley has, since late October 2021, been

calling in various bomb threats targeting a local judge, a city, as well as two schools. On

November 18, 2021, McGinley called in another bomb threat where he targeted another local

school. The incidents are summarized below.

       7.      According to NDPD CallForService report number 2021-022739, on October 26,

2021, NDPD spoke with a Washington County Sheriff’s Office Deputy. The Deputy reached out

to NDPD to obtain information on McGinley. The Deputy told NDPD that he took a report that

McGinley was calling McGinley’s mother and threatening to kill her.

       8.      I reviewed NDPD CallForService report number 2021-023679. The report

documented multiple calls the NDPD Dispatch Center received from McGinley and listed

McGinley’s number as (503) 498-0670, hereinafter McGinley-0670. The NDPD Dispatch

Center automatically records the numbers that call as well as the content of the calls. In the

report an NDPD Officer reported McGinley contacted the NDPD Dispatch Center multiple

times. The report stated that at one point, McGinley, “made a statement indicating we needed to

do our jobs and referenced putting a pipe bomb under a vehicle.” The NDPD Officer reported he

reviewed some of McGinley's recorded calls, and McGinley made reference to having placed a

pipe bomb on Willamette St., in Newberg, Oregon. NDPD officers checked the area and did not


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locate a pipe bomb around the area of Willamette Street in Newberg, Oregon. NDPD requested

a search warrant for geolocation information on the phone number used to contact dispatch,

McGinley-0670. The search warrant for geolocation information provided that the phone was

currently located in St. Louis, Missouri. McGinley has previously resided in Newberg, Oregon

and has family in and around St. Louis, Missouri.

       9.      I reviewed a report related to NDPD Case Number XX-XXXXXXX. According to the

report, on November 9, 2021, an NDPD Officer was dispatched to an information call about

McGinley calling in a threat of a pipe bomb being placed in the vehicle tailpipe of a named

Municipal Court Judge. Following the call, an NDPD Officer spoke to McGinley during a

recorded phone call. On the call, McGinley was asked what he was referring to when he said

that the named judge needed to check for a pipe bomb. McGinley said everyone should be aware

of what's going on in the community. McGinley was asked if he was concerned for the named

judge. McGinley responded saying he hoped someone would put a pipe bomb in the named

judge’s tailpipe because that judge was worthless and shouldn't be a judge.

       10.     I reviewed a NDPD police report related to case number 21-2121. According to

the report, during the morning of November 12, 2021, NDPD received information from

Newberg High School regarding a potential bomb threat. The principal of the school reported

staff had received a voicemail from an unknown person stating there was a “pipe bomb” in the

school. The voicemail came from McGinley-0670. Through reviewing past call history, NDPD

dispatch was able to associate McGinley-0670 with McGinley. A NDPD Officer reviewed the

voicemail that was sent to the school. The NDPD Officer reported the voicemail said, “Yes,

good morning. There could be a pipe bomb placed on your campus today or there could not


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be—and also, xxxxx xxxx fucked his daughter and has a son as a result of that. Alright, there

may be a pipe bomb on your campus today—there could be or there could not be—but xxxxx

xxxx did fuck his daughter and has a son as a result of that (unknown).” 1

         11.      The NDPD Officer reported that he and several officers listened to the voicemail

left at the school. The NDPD Officer advised that based on past contacts with McGinley, both

he and the other NDPD officers, recognized the voice in the message to be McGinley’s voice.

An additional search warrant for geolocation information was obtained on McGinley-0670 and

the phone was identified as being in the St. Louis, Missouri area.

         12.      I reviewed a Sherwood Police Department, hereinafter SPD, report related to SPD

case number 213160257. That report documents that during the morning of November 12, 2021,

a School Resource Officer, hereinafter the SRO, was informed by Sherwood High School,

hereinafter SHS, administrative staff there had just been a bomb threat called in from McGinley-

0670. Staff reported a male voice, initially thought to possibly be a student, said "there is a

bomb on campus," and hung up. Shortly after this, the SRO received a phone call in his SHS

office from the same number, McGinley-0670. The SRO activated his body camera to record the

phone call and put the phone on speaker mode. The SRO provided a summary of the phone call

in his report. During the call McGinley provided information regarding a Sherwood pedophilia

ring and confirmed his name as Sean McGinley and his birthdate as January "xx or xx" of 1981. 2

When McGinley was asked if he had called in a bomb threat, McGinley denied that he had called

in the bomb threat. McGinley was asked if anyone else had access to his phone and McGinley



1
 McGinley left the name of an individual but I have omitted it from this affidavit.
2
 One of the dates matches McGinley’s listed date of birth and the other is only one number off of his listed date of
birth.
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responded saying something to the effect of it was "not a secure line." SROs, law enforcement,

and staff searched the school and no device was found.

       13.     NDPD Call for Service reports show NDPD dispatch received numerous calls in

November 2021 from McGinley utilizing McGinley-0670. According to a call for service report

McGinley reported “sexually based conspiracy theories.”

       14.     On November 18, 2021, the Marion County Sheriff’s Office, hereinafter MCSO,

contacted me to report that the St. Paul Oregon High School received a voicemail containing a

bomb threat that came from McGinley-0670. The number making the call was recorded by the

machine. MCSO officials have shared the call with the SRO, referenced above, and the SRO

positively identified the voice of the caller as McGinley, who he had previously talked with. I

have also listened to the call. In the call, McGinley-0670 says there could or could not be a

bomb in the high school property and that the bomb could or could not go off at 11 AM. The

school officials, upon hearing the message, viewed this as a real and credible bomb threat. As a

result of the call, the school was evacuated, locked down, and law enforcement was called to

check the school for explosive devices. None were found. Classes were canceled for the

remainder of the day.

       15.     Records received from T-Mobile for McGinley-0670 revealed the subscriber was

Jessica McGinley, hereinafter Jessica, with an address of 413 S Willamette St., Newberg,

Oregon. The account was listed as active with a begin service date of May 7, 2021. The rate

plan details indicate there are two phone lines associated with the account. Call detail records

were provided for the last 48 hours. The records show that on the morning of November 18,

2021, McGinley-0670 placed a phone call to (503) 633-2541, which is the number for the St.


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Paul, Oregon Middle School/High School. A search warrant for geolocation information from

T-Mobile on November 18, 2021, for McGinley-0670, show an approximate location of the

phone in St. Louis, Missouri.

       16.     Oregon DMV records associate McGinley with residing at the 413 S Willamette

St., Newberg, Oregon address. LexisNexis records associate McGinley with the same address

and list Jessica as a possible relative. LexisNexis records also list Kelly McGinley as a possible

relative and Michael Flynn as a possible associate each with an active address of 3942 Flora Pl,

Saint Louis, Missouri. The criminal history report for McGinley lists previous charges for

telephonic harassment with at least one conviction.

                                           Conclusion

       17.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Sean Case McGinley, with a date of birth January xx, 1981, is utilizing McGinley-0670 and has

committed the crimes of making interstate threats involving explosives, in violation of 18 U.S.C.

§ 844(e), and conveying false or misleading information and hoaxes regarding a destructive

device, in violation of 18 U.S. Code § 1038(a) and I therefore request that the Court issue a

criminal complaint and arrest warrant for McGinley.

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       18.     Prior to being submitted to the Court, this affidavit, the accompanying

application, and the requested arrest warrant were all reviewed by Assistant United States

Attorney (AUSA) Scott Kerin and AUSA Kerin advised me that, in his opinion, the affidavit and

application are legally and factually sufficient to establish probable cause to support the issuance

of the requested criminal complaint and arrest warrant.



                                                      By phone pursuant to Fed R. Crim. P. 4.1
                                                      John Mandrafina
                                                      Special Agent


       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at
                     19
 3:45pmon November _______,
_______                     2021.


                                                      ____________________________________
                                                      Hon. Jolie A. Russo
                                                      United States Magistrate Judge
                                                      District of Oregon




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